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                 Exhibit 18
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                                State of California                                               s
                                  Secretary of State
                              Statement of Information                                                                   G480623
         (Domestic Stock and Agricultural Cooperative Corporations)
                    FEES (Filing and Disclosure): $25.00.
                If this is an amendment, see instructions.
                                                                                                                        FILED
     IMPORTANT- READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                              In the office of the Secretary of State
1.   CORPORATE NAME                                                                                               of the State of California
ONLINENIC INC.

                                                                                                                       MAR-11 2019


2. CALIFORNIA CORPORATE NUMBER
                                             C1939078                                                              This Space for Filing Use Only




4.   STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                              CITY                        STATE        ZIP CODE


5.   STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                         CITY                        STATE        ZIP CODE


6.   MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                                  CITY                        STATE        ZIP CODE




Names and Complete Addresses
officer     be added; however, the
7.   CHIEF EXECUTIVE OFFICER/               ADDRESS                                            CITY                        STATE        ZIP CODE


8.   SECRETARY                              ADDRESS                                            CITY                        STATE        ZIP CODE


9.   CHIEF FINANCIAL OFFICER/               ADDRESS                                            CITY                        STATE        ZIP CODE


Names and Complete Addresses of                Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional      if
10. NAME                                    ADDRESS                                            CITY                        STATE        ZIP CODE


11. NAME                                    ADDRESS                                            CITY                        STATE        ZIP CODE


12. NAME                                    ADDRESS                                            CITY                        STATE        ZIP CODE




Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate     nt to California       ons Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS


15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                    STATE        ZIP CODE




16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION


17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
03/11/2019           REXW.LIU                                                 MANAGER
                         TYPE/PRINT NAME OF PERSON COMPLETING FORM                     TITLE




                                                                                                                            ONLINENIC 000074
